     Case: 2:07-cr-00008-WAP-DAS Doc #: 69 Filed: 03/02/07 1 of 2 PageID #: 124




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                  CIVIL ACTION NO. 2:07CR008-WAP-EMB

MOHAMMED ALKISWANI, et al.


                                               ORDER

        This cause comes before the Court on three unopposed motions filed by the Defendant

Mohammed Alkiswani: (1) motion [doc. 26] for an order requiring the prosecution to give notice of

its intention to use other crimes, wrongs or acts evidence; (2) motion [doc. 27] for disclosure of

impeachment information; and (3) motion [doc. 28] for disclosure of identity of witness. Upon due

consideration, the Court rules as follows:

Motion for Order Requiring the Prosecution to Give Notice of its Intention to Use Other Crimes,
Wrongs or Acts Evidence

        The defendant requests an order requiring the government to give two weeks notice prior to

trial of its intent to use evidence of other crimes, wrongs or acts at trial pursuant to Rule 12(d)(2) of

the Federal Rules of Criminal Procedure and Rules 104 and 404 of the Federal Rules of Evidence.

Because the government has failed to object to the instant motion, the same is GRANTED. The

government shall provide the requested information at least two weeks prior to trial.

Motion For Disclosure of Impeachment Information

        The defendant requests that the Court enter an order requiring pretrial disclosure of

information favorable to the defendant or discrediting to the government’s case pursuant to Rule

16(a)(1) of the Federal Rules of Criminal Procedure and Brady v. Maryland, 373 U.S. 83 (1963).

The Court is of the opinion that the instant motion is premature, as the government is required by
     Case: 2:07-cr-00008-WAP-DAS Doc #: 69 Filed: 03/02/07 2 of 2 PageID #: 125




Brady and its progeny to produce exculpatory and impeachment evidence only “at the appropriate

time.” And, inasmuch as defendant does not allege that the government has failed to meet its

obligations under the law, the instant motion is hereby DENIED.

Motion for Disclosure of Identity of Witness

       The defendant requests that the Court order the government to disclose the identity of any

witness or informant utilized or relied upon by the government in the investigation of this matter.

Under Federal Rule of Criminal Procedure 16, which is applicable to discovery in a criminal case,

there is no provision for the production of the names and addresses of witnesses for the government.

FED.R.CRIM.P. 16. Furthermore, defendant has not provided any reason why disclosure of the

requested information is necessary. And, without some showing by the defendant of why this

information might be necessary to further his defense, the Court will not order its disclosure.

Therefore, defendant’s motion for disclosure of identity of witness is also DENIED.

       SO ORDERED this 2nd day of March, 2007.



                                                                   /s/ Eugene M. Bogen
                                                                   U. S. MAGISTRATE JUDGE




                                                 2
